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ATTORNEYS FOR THE
DEBTORS AND DEBTORS-IN-POSSESSION

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

In re:                                                      §    Chapter 11
                                                            §
FLEXIBLE FUNDING LTD. LIABILITY CO., et                     §    Case No. 21-42215-11-mxm
al., 1                                                      §
                                                            §
                  Debtors.                                  §    (Jointly Administered)


                             NON-MATERIAL MODIFICATION TO
                       AMENDED CHAPTER 11 JOINT PLAN OF LIQUIDATION

TO THE HONORABLE MARK X. MULLIN, UNITED STATES BANKRUPTCY JUDGE:

         COME NOW, Flexible Funding Ltd. Liability Co. and Instapay Flexible, LLC (collectively,

the “Debtors”), file this Non-Material Modification to Amended Chapter 11 Joint Plan of Liquidation

(the “Non-Material Modification”).

         1.       The Debtors hereby make this nonmaterial modification to the Amended Chapter

11 Joint Plan of Liquidation for Flexible Funding Ltd. Liability Co. and Instapay Flexible, LLC dated

May 17, 2022 [Dkt. No. 382] (the “Plan”) as follows:

                  Exhibit A to the Plan is hereby replaced in its entirety with the Amended Exhibit A

                  attached hereto.


1 The
    Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Flexible Funding Ltd. Liability Co. (4495) and Instapay Flexible, LLC (7648).



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         2.       All references made to Exhibit A in the Plan shall be deemed to reference the

attached Amended Exhibit A.



Dated: June 24, 2022.                                   /s/ Jeff P. Prostok
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                                                        ATTORNEYS FOR DEBTORS
                                                        AND DEBTORS-IN-POSSESSION



                                          CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served on all
parties entitled to receive ECF electronic notice and on those parties listed on the attached
Service List via U.S. Mail, first class, on June 24, 2022.

                                                                  /s/Jeff P. Prostok
                                                                  Jeff P. Prostok


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